EXHIBIT B
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                          Asset                                              Description                             Value

Liquidated Assets
      Cash                                      Cash located at 1124 Blalock Rd                                         $53,346
      Cash in Safe                              Recovered from two safes at Blalock Rd                                 $392,765
      First Community Credit Union              Closed Benvenuto bank account                                          $407,042
      First Community Credit Union              Closed Benvenuto bank account                                           $44,406
      Bank of America                           Closed Benvenuto bank account                                           $16,825
      Bank of America                           Closed Benvenuto bank account                                            $4,500
      Simmons Bank                              Closed Benvenuto bank account                                           $80,764
      Simmons Bank                              Closed CBT bank account                                                $247,916
      Regions Bank                              Closed Chavez bank account                                                 $782
      Coinbase, Inc.                            Proceeds from liquidation of crypto account                            $982,924
      Blockchain.com                            Proceeds from liquidation of crypto account                          $1,161,141
      Burford Perry LLC                         Balance of retainer                                                    $155,631
      Gerger Hennessy & Martin LLP              Balance of retainer                                                    $214,488
      Jones Walker Retainer                     Turned over to Receiver                                                $102,229
      Televisions                               Located at 1124 Blalock                                                  $3,040
      Pratt & Flack LLP                         Cash turned over to the Receiver by Chavez                              $55,000
      Hogan Lane, Hempstead TX                  Net sale proceeds from sale of real property                            $64,758
      Exodus Wallet                             BTC, Tether & Solana. Liquidated in April 2023.                         $86,915
      28 Lawrence Marshall Dr, Hemptstead, TX   Sale closed in April 2023.                                              $65,027
      2020 Volkswagen Tiguan                    Turned over to Receiver by Angelica Vargas and liquidated               $16,695
      2021 Mercedes-Benz GLE AMG                Turned over to Receiver by Mauricio Chavez and liquidated               $63,568

Total Liquidated Assets                                                                                              $4,219,761

Unliquidated Assets

   Benvenuto Holdings Bank Accounts
      First Community Credit Union              Benvenuto Holdings frozen account                                      $109,077
      First Community Credit Union              Benvenuto Holdings frozen account                                        $1,625

   Digital Assets
      Cold Storage Crypto                       Four non-custodial accounts at Blockchain.com.                         Unknown
      Cold Storage Crypto                       Receiver possesses Ledger Nano drive.                                  Unknown
      79 Proton LLC                             Receiver investigating value of unsold NFTs.                           Unknown

   Vehicles
      2022 BMW X6 M501                          Offer received. Value is net of loan                                    $30,000
      2020 Jeep Gladiator                       In Benvenuto's possession. Insured thru Geico.                          $30,000

   Personal Property
      Chavez jewelry & personal property        Receiver investigating                                                       $0
      Benvenuto personal property               Minimal value                                                                $0
      CFX furniture and fixtures                Removed from 1124 Blalock to be sold                                     $2,000
      Computers                                 At Receiver's office. Will be preserved                                  $5,000

   Real Properties
      Mack Washington, Hempstead, TX            CBT purchased for $2.05 million. Listed for sale for $1.15 million   $1,150,000

   Janette Gonzalez and related entities
      2030 Green Haven Ct, Missouri City, TX JJ Trust via Luxury Real Estate LLC                                       $750,000
      9302 Knollwood Ln, Missouri City, TX        Aspire Living LLC via Gonzalez                                       $607,700
      26602 Polaris rise Lane, Richmond, TX 77406 The JCA Trust via JM Monarchy                                        $400,000
      24923 Tidmor Ln, Richmond, TX               JM Monarchy LLC via Chavez                                           $478,700
      Regions Bank Account                        Frozen bank accounts - Luxury Real Estate & Hair News Color           $61,045
      2021 Lexus ES350 F Sport                    Transferred to JM Monarchy.                                           $30,000
      Other Transfers                             Receiver Calculating                                                     TBD


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                        Asset                                                  Description                                          Value

   Angelica Vargas
     27915 Round Moon Lane, Katy, TX 77494     Purchased with investor funds                                                           $630,000
     2021 Mercedes-Benz GLS                    Purchased for $114,015.21                                                                 $75,000
     Cash and other payments from Defendants   Deposits into Chase Bank account.                                                       $433,233
     Crypto Transfers                          Over $11 million in/out of crypto account                                      Finalizing Number

   Other
      Hair News Color n Cuts                   Investment/purchase by Defendants                                                             $0

   Causes of Action
      Earnings' Paid to Investors              $370 million in 'Earnings' paid to investors per Salesforce (10% recovery)           $37,000,000
      Commissions/Bonuses paid                 $63 million in 'Commissions' paid to investors per Salesforce (10% recovery)          $6,300,000
      Transfers to Leaders                     Motion pending for turnover of Google Drive to determine amounts                       Unknown
      PLS Check Cashers                        $4,784,618 in money orders purchased. (est 20% recovery)                                $960,000
      Ebenezer Construction                    Payments for work not performed                                                         $950,249
      Gabriel Torres Investigating
          Receiver                             Owner of Ebenezer Construction and Investor                                            Unknown
      Gustavo Gomez                            Transfer of cryptocurrency                                                              $500,000
      Eduardo Taffinder                        Transfers                                                                              Unknown
      Julio Taffinder                          Payments to son of Eduardo Taffinder                                                    $149,500
          Recoveries
      Hanna             Redacted
             Gabriela Salido                   Payments to daughter of Eduardo Taffinder                                               $137,500
      Styers Realty                            Sold CBT the Mack Washington property for twice value                                 $1,000,000
      Rancho Las Vegas                         Receiver investigating payment in September 2022                                         $90,000

Total Unliquidated Assets                                                                                                           $51,880,629

Liquidated Plus Unliquidated Assets                                                                                                 $56,100,390




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